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                    UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF LOUISIANA




 CHRISTOPHER LOWERY,
 DAROLD HINES

                            Plaintiffs,

              – Versus –                      NUMBER: 3:17-cv-00683

 STATE OF LOUISIANA,                          JUDGE: SHELLY DICK
 DEPARTMENT OF CORRECTIONS;
 JAMES LEBLANC, in his official               MAGISTRATE JUDGE: ERIN
 capacity as Secretary of the Department      WILDER-DOOMES
 of Corrections; and DARREL
 VANNOY, in his official capacity as
 Warden of the State Penitentiary at
 Angola.

                            Defendants.




                        JOINT NOTICE OF SETTLEMENT



      Plaintiffs Christopher Lowery and Darold Hines (“Plaintiffs”) and Defendants

the State of Louisiana, Department of Corrections; James LeBlanc; and Darrel

Vannoy (“Defendants”), respectfully submit this Notice of Settlement, and inform

the Court as follows:
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1. As of this week, Plaintiffs’ counsel and Defendants’ counsel have reached an

   agreement to resolve Plaintiffs’ claims against Defendants.

2. Defendants have authorized this agreement.

3. Plaintiff Christopher Lowery has authorized this agreement.

4. Because Plaintiff Darold Hines is incarcerated at Angola, his counsel has not

   yet been able to obtain his approval for the agreement.

5. Mr. Hines’ counsel is making every effort to discuss the settlement agreement

   with Mr. Hines as soon as practically possible.

6. The parties are in the process of finalizing a settlement agreement and

   anticipate filing a Notice of Dismissal with the Court upon its execution.



                      Respectfully Submitted,

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                                          AND

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                      Ashley J. Heilprin, La. Bar No. 34928
                      ACLU Foundation of Louisiana
                      Cooperating Attorneys
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                Counsel for Christopher Lowery


               /s/ Jonathan R. Vining
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               Counsel for Defendants
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                          CERTIFICATE OF SERVICE

       I hereby certify that on March 1, 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send a notice of
electronic filing to all CM/ECF participants.

Dated :      March 1, 2018             /s/ Bruce Hamilton
                                       Bruce Hamilton
